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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

Ubiquiti Networks, Inc.
                                       Plaintiff,
v.                                                        Case No.: 1:18−cv−05369
                                                          Honorable Gary Feinerman
Cambium Networks, Inc., et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 16, 2019:


         MINUTE entry before the Honorable Gary Feinerman:Status hearing held and
continued to 9/4/2019 at 9:15 a.m. Motion hearing held. Defendants' motion to dismiss
[70] is entered and continued. Plaintiff shall respond by 8/13/2019; Defendant shall reply
by 8/27/2019. Plaintiff's motion to lift stay of discovery [72] is entered and continued.
Defendant shall respond to that motion by 7/31/2019. The 7/18/2019 motion hearing [73]
is stricken.Mailed notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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